         Case 21-33369 Document 104 Filed in TXSB on 02/21/22 Page 1 of 3



Joyce W. Lindauer
State Bar No. 21555700
Joyce W. Lindauer Attorney, PLLC
1412 Main Street, Suite 500
Dallas, Texas 75202
Telephone: (972) 503-4033
Facsimile: (972) 503-4034
ATTORNEY FOR DEBTOR


                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IN RE:                                                 §
                                                       §
PREFERRED READY-MIX LLC,                               §             CASE NO. 21-33369
                                                       §
        Debtor.                                        §                      Chapter 11

                              SECOND AMENDED BALLOT TALLY

       Preferred Ready-Mix LLC (the “Debtor”), submits the following tally of Ballots received
in connection with confirmation of its Plan of Reorganization:

        Class 1           Allowed Secured Claim of BankDirect Capital Finance.

                                   No votes received.

        Class 1A          Allowed Secured Claim of Ag Barn.

                          AG Barn Management, LLC voted to reject the Plan. The amount of AG
                          Barn Management, LLC’s secured claim is $10,000.00.

                                   Class 1A voted to reject the Plan.

        Class 1B          Allowed Secured Claim of Wayne C. Tyson.

                          Wayne C. Tyson voted to reject the Plan. The amount of Wayne C. Tyson’s
                          claim is $19,097.83.

                                   Class 1B voted to reject the Plan.1

        Class 2           Allowed Secured Claim of FundThrough USA, Inc.

                                   No votes received.


1
  Counsel for Wayne Tyson indicated that he will change his vote to an acceptance of the Plan at the confirmation
hearing.
Second Amended Ballot Tally                                                                               Page 1
            Case 21-33369 Document 104 Filed in TXSB on 02/21/22 Page 2 of 3




           Class 3           Allowed General Unsecured Claims, excluding Insiders.

                             Con-Tech Manufacturing, Inc. voted to accept the Plan. The amount of
                             Con-Tech Manufacturing, Inc.’s claim is $13,287.66.

                             Texcon Ready Mix, Inc. voted to accept the Plan. The amount of Texcon
                             Ready Mix, Inc.’s claim is $433,881.01.

                                      Class 3 voted to accept the Plan.

           Class 4           Allowed Unsecured Claims of Insiders.

                             Matthew W. Tyson voted to reject the Plan. The amount of Matthew W.
                             Tyson’s claim is $54,386.53.

                                      Class 4 voted to reject the Plan.2

           Class 5           Allowed Equity Interest Holders.

                                      No votes received.

           Dated: February 21, 2022.

                                                                 Respectfully submitted,

                                                                   /s/ Joyce W. Lindauer
                                                                 Joyce W. Lindauer
                                                                 State Bar No. 21555700
                                                                 Joyce W. Lindauer Attorney, PLLC
                                                                 1412 Main Street, Suite 500
                                                                 Dallas, Texas 75202
                                                                 Telephone: (972) 503-4033
                                                                 Facsimile: (972) 503-4034
                                                                 ATTORNEY FOR DEBTOR




2
    Matthew Tyson is an insider as a prior owner of the business and as such should be counted in Class 4.
Second Amended Ballot Tally                                                                                  Page 2
        Case 21-33369 Document 104 Filed in TXSB on 02/21/22 Page 3 of 3




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on February 21, 2022, a true and correct copy of the
foregoing document was served via email pursuant to the Court’s ECF system upon the parties
listed below.

Robert W Berleth on behalf of Attorney Robert Berleth
rberleth@berlethlaw.com

Allison D Byman
adb@bymanlaw.com, adb@trustesolutions.net; rww.trustee1@gmail.com;
cadb11@trustesolutions.net; rah@bymanlaw.com

Hector Duran, Jr on behalf of U.S. Trustee US Trustee
Hector.Duran.Jr@usdoj.gov

Jessica Lee Hoff on behalf of Debtor Preferred Ready-Mix LLC
jhoff@hofflawoffices.com, JHoff@jubileebk.net

Jeffery B Kaiser on behalf of Creditor Texcon Ready Mix, Inc.
jkaiser@kaiser-law.com, admin.three@kaiser-law.com

Joyce Williams Lindauer on behalf of Debtor Preferred Ready-Mix LLC
joyce@joycelindauer.com, dian@joycelindauer.com

Derek W Loetzerich on behalf of Creditor Cameron Rosele
derek@loetzerichlaw.com

John June-chul Na on behalf of Creditor M & N Law Firm PLLC
john@mnnlawfirm.com, pete@mnnlawfirm.com

Brendon D Singh on behalf of Creditor Alisons Inc. LLC
Bsingh@ts-llp.com, ecf@ctsattorneys.com;corraltransinghllp@jubileebk.net

Brendon D Singh on behalf of Creditor Wayne C. Tyson
Bsingh@ts-llp.com, ecf@ctsattorneys.com;corraltransinghllp@jubileebk.net

US Trustee
USTPRegion07.HU.ECF@USDOJ.GOV



                                                      /s/ Joyce W. Lindauer
                                                    Joyce W. Lindauer




Second Amended Ballot Tally                                                                 Page 3
